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Sheet 1
UNITED STATES DISTRICT COURT
WESTERN District of ARKANSAS
UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
Vv.
Case Number: 1:11CR10043-001
RAMIEN COLLINS
USM Number: 10539-010
Greg N. Robinson
Defendant's Attorney
THE DEFENDANT:

X pleaded guilty to count(s) © _One (1) of an Information on October 3, 2011

UC pleaded nolo contendere to count(s)

 

which was accepted by the court.

CO was found guilty on count(s)
after a plea of not guilty.

 

The defendant is adjudicated guilty of these offenses:
Title & Section Nature of Offense Offense Ended Count

21 U.S.C. §§ 841@X1) Conspiracy to Distribute More than 28 Grams of Cocaine Base 01/2010 i
and (b)(1}(B\(iii) and 846 «= a Schedule [1 Controlled Substance

The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is imposed by referring to
the U.S. Sentencing Guidelines as only advisory with the statutory range for offense(s).

CO The defendant has been found not guilty on count(s)

 

0 Count(s) CF is C1 are dismissed on the motion of the United States.

 

__ Itis ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

January 19, 2012
Date of Imposition of Judgment

/S/ Harry F. Barnes
Signature of Judge

Honorable Harry F, Barnes, Senior United States District Judge
Name and Title of Judge

January 23, 2012
Date
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AQ 245B (Rev, 06/05) Judgment in Criminal Case

Sheet 2 — Imprisonment

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DEFENDANT: RAMIEN COLLINS
CASE NUMBER: 1:11CR10043-001

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of: seventy (70) months, with credit for time already served in federal custody.

X = The court makes the following recommendations to the Bureau of Prisons:

The Court recommends that the defendant be incarcerated at FC] Texarkana if possible.
The Court recommends that the defendant be allowed to participate in the
500 hour Intensive Drug Treatment Program if eligible.

X The defendant is remanded to the custody of the United States Marshal.

-] The defendant shall surrender to the United States Marshal for this district:

Cl at Clam 1 pm. on

 

C1 as notified by the United States Marshal.

(1 The defendant shal! surrender for service of sentence at the institution designated by the Bureau of Prisons:

{] before 2 p.m. on

 

Os asnotified by the United States Marshal.

OJ as notified by the Probation or Pretrial Services Office.

 

 

 

RETURN
I have executed this judgment as follows:
Defendant delivered on to
a , with a certified copy of this judgment.
UNITED STATES MARSHAL
By

 

DEPUTY UNITED STATES MARSHAL
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Sheet 3 — Supervised Release
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DEFENDANT: RAMIEN COLLINS
CASE NUMBER: 1:11CR10043-001
SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of : four (4) years

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.

The defendant shail not commit another federal, state or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controtled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.

(The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
future substance abuse. (Check, if applicable.)

X The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)

X The defendant shail cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

C]_ The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
student, as directed by the probation officer. (Check, if applicable.)

(‘The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

STANDARD CONDITIONS OF SUPERVISION

1) _ the defendant shall not leave the judicial district without the permission of the court or probation officer;

2) the defendant shall report to the probation officer and shal] submit a truthful and complete written report within the first five days of
each month;

3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
4) the defendant shall support his or her dependents and meet other family responsibilities,

5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
acceptable reasons,

6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment,

7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
felony, unless granted permission to do so by the probation officer,

10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
contraband observed in plain view of the probation officer;

11) _ the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;

12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
permission of the court; and

13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
defendant's compliance with such notification requirement.
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Sheet 3C- — Supervised Release

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DEFENDANT: RAMIEN COLLINS
CASE NUMBER: 1:110R10043-001

SPECIAL CONDITIONS OF SUPERVISION

1. The defendant shall submit his person, residence, and vehicle to a search conducted by the United States
Probation Office at a reasonable time and in a reasonable manner based upon reasonable suspicion of evidence
of violation of any condition of supervised release.

2. In addition to the mandatory drug testing requirements, the defendant shall comply with any referral deemed
appropriate by the U.S. Probation Officer for in-patient or out-patient evaluation, treatment, counseling or
testing for substance abuse.
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Sheet 5 — Criminal Monetary Penalties

 

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DEFENDANT: RAMIEN COLLINS

CASE NUMBER: 1:11CR10043-001
CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment Fine Restitution
TOTALS $ 100.00 § -0- $ -0-
(0 The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (AO 245C) will be entered

after such determination.
(1 The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each payee shall receive an approximately pro ortioned payment, unless specified otherwise in
the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
before the United States is paid.

Name of Payee Total Loss* Restitution Ordered Priority or Percentage
TOTALS $ 0 $ _

C1_ Restitution amount ordered pursuant to plea agreement $

 

(1 The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

(= ‘The court determined that the defendant does not have the ability to pay interest and it is ordered that:
[the interest requirement is waived for the C fine (C restitution.

Cs the interest requirement for the C) fine {1 restitution is modified as follows:

* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
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Sheet 6 — Schedule of Payments

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DEFENDANT: RAMIEN COLLINS
CASE NUMBER: 1:11CR10043-00]

SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as follows:

A X Lumpsum paymentof$ _ 100.00 due immediately, balance due

C snot later than , or
C1_ in accordance Oc OF D OF Eo [J F below; or

() Payment to begin immediately (may be combined with (OC, CD,or (]F below); or

C OF Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after the date of this judgment; or

D (CO Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(¢.g., months or years), to commence (e.g., 30 or 60 days} after release from imprisonment to a

term of supervision; or

E (Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from
imprisonment, The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F xX Special instructions regarding the payment of criminal monetary penalties:
If not paid immediately, any unpaid financial penalty imposed shall be paid during the period of incarceration at a rate of not less
than $25.00 quarterly, or 10% of the defendant’s quarterly earnings, whichever is greater. After incarceration, any unpaid financial
penalty shall become a special condition of supervised release and may be paid in monthly installments of not less than 10% of the

defendant’s net monthly household income, but in no case less than $25.00 per month, with the entire balance to be paid in full one
month prior to the termination of supervised release.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due durin
imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financia
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

(1 = Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
and corresponding payee, if appropriate.

1 The defendant shall pay the cost of prosecution.

OH

The defendant shall pay the following court cost(s):

[J The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.

 

 
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Sheet 7 — Denial of Federal Benefits

 

 

 

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DEFENDANT: RAMIEN COLLINS
CASE NUMBER: __1:11CR10043-001
DENIAL OF FEDERAL BENEFITS

(For Offenses Committed On or After November 18, 1988)
FOR DRUG TRAFFICKERS PURSUANT TO 21 U.S.C. § 862
IT IS ORDERED that the defendant shall be:
X ineligible for all federal benefits for a period of five (5) years

1 ineligible for the following federal benefits for a period of
(specify benefit(s))

 

 

 

 

OR

C1 Having determined that this is the defendant’s third or subsequent conviction for distribution of controlled substances, IT IS
ORDERED that the defendant shall be permanently ineligible for all federal benefits.

FOR DRUG POSSESSORS PURSUANT TO 21 U.S.C. § $62(b)
IT IS ORDERED that the defendant shall:

(4 be ineligible for all federal benefits for a period of

1 be ineligible for the following federal benefits for a period of

 

(specify benefit(s))

 

 

 

C — successfully complete a drug testing and treatment program.
perform community service, as specified in the probation and supervised release portion of this judgment.

IS FURTHER ORDERED that the defendant shall complete any drug treatment program and community service specified in this
judgment as a requirement for the reinstatement of eligibility for federal benefits.

Pursuant to 21 U.S.C, § 862(d), this denial of federal benefits does not include any retirement, welfare, Social Security, health,
disability, veterans benefit, public housing, or other similar benefit, or any other benefit for which payments or services are required
for eligibility. The clerk is responsible for sending a copy of this page and the first page of this judgment to:

U.S. Department of Justice, Office of Justice Programs, Washington, DC 20531
